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           16
                                   UNITED STATES DISTRICT COURT
           17
                         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
           19      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           20      CERCACOR LABORATORIES, INC.,                  APPLE’S THIRD AMENDED
                   a Delaware corporation,                       WITNESS LIST
           21
                                      Plaintiffs,
                                                                 Trial: April 4, 2023
           22
                         v.
           23
                   APPLE INC.,
           24      a California corporation,
           25                         Defendant.
           26
           27
           28
                                                                        APPLE’S THIRD AMENDED WITNESS LIST
Wilmer Cutler
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
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                                                                 APPLE’S THIRD AMENDED WITNESS LIST
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                                                                    CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1              Pursuant to FRCP 26(a)(3)(A), Local Rule 16-5, and Dkt. 627, Apple sets forth
             2     below its anticipated witness list. Apple includes in this witness list individuals who
             3     may be listed on Plaintiffs’ witness list without waiving any right to object to
             4     Plaintiffs’ presentation of such witnesses at trial, without waiving any objections to the
             5     admissibility of such testimony, and without waiving the right to move for the
             6     exclusion of any testimony. Apple reserves the right to modify, supplement, or amend
             7     its witness list in response to Plaintiffs’ witness list, or any other circumstances that
             8     may occur between now and the conclusion of trial, to the extent permitted by the
             9     Federal Rules of Civil Procedure, the Local Rules, or other Order of this Court. Apple
           10      further reserves the right to call live or by deposition as its witness at trial any witness
           11      identified on Plaintiffs’ witness list.
           12               At this time, Apple identifies the following witnesses for trial.
           13      I.       WILL / MAY CALL LIVE1
           14                 1. Ueyn Block
           15                 2. Deidre Caldbeck
           16                 3. Timothy Cook*
           17                 4. Steven Hotelling
           18                 5. Ran Kivetz
           19                 6. Brian Land*
           20                 7. Paul Mannheimer*
           21                 8. Divya Nag*
           22                 9. Michael O’Reilly
           23                 10. Adrian Perica
           24                 11. Marco Perez
           25
           26
                   1
           27          Per L.R. 16-5, Apple has placed an asterisk (*) next to the names of those witnesses
                        whom Apple may call only if the need arises.
           28
                                                                           APPLE’S THIRD AMENDED WITNESS LIST
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             1             12. Peter Russell-Clarke*
             2             13. Majid Sarrafzadeh
             3             14. Denby Sellers*
             4             15. Steven Warren
             5             16. Stephen Waydo
             6             17. Shirley Webster
             7             18. Jeffrey Williams*
             8             19. Dong Zheng*
             9             20. David Dalke*
           10              21. Mohamed Diab*
           11              22. Gerry Hammarth*
           12              23. Joseph Kiani*
           13              24. Tracy Miller*
           14              25. Bilal Muhsin*
           15              26. Gregory Olsen*
           16              27. Jeroen Poeze*
           17              28. Steven Scruggs*
           18
                   II.   MAY CALL BY DEPOSITION
           19
                           1. Yassir Abdul-Hafiz
           20
                           2. Ammar Al-Ali
           21
                           3. David Dalke
           22
                           4. Mohamed Diab
           23
                           5. Gerry Hammarth
           24
                           6. Alex Kanaris
           25
                           7. Joseph Kiani
           26
                           8. Marcelo Lamego
           27
           28
                                                                 APPLE’S THIRD AMENDED WITNESS LIST
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             1              9. Tracy Miller
             2              10. Bilal Muhsin
             3              11. Gregory Olsen
             4              12. Jeroen Poeze
             5              13. Anand Sampath
             6              14. Steven Scruggs
             7              15. Robert Smith
             8              16. Phil Weber
             9              17. Walter Weber
           10               18. Jill Wroblewski
           11               19. Micah Young
           12
                         In their First Amended Witness List, dated February 22, 2023, Plaintiffs
           13
                   indicated that they “will” call live David Dalke, Mohamed Diab, Gerry Hammarth,
           14
                   Joseph Kiani, Tracy Miller, Bilal Muhsin, Jeroen Poeze, and Stephen Scruggs. In
           15
                   reliance on Plaintiffs’ First Amended Witness List, Apple has not served deposition
           16
                   designations of these witnesses. To the extent Plaintiffs amend their witness list to
           17
                   withdraw any of these witnesses from their “will” call live list, Apple reserves the right
           18
                   to then serve designations and call those witnesses by deposition.
           19
                         As set forth in the parties’ Joint Pretrial Order, Plaintiffs have agreed Apple may
           20
                   call Yassir Abdul-Hafiz, Ammar Al-Ali, Alex Kanaris, Gregory Olsen, Anand
           21
                   Sampath, Stephen Scruggs, Robert Smith, Phil Weber, Walter Weber, and Micah
           22
                   Young via deposition regardless of whether they are within the Court’s subpoena
           23
                   power or otherwise unavailable under Federal Rule of Civil Procedure 32.
           24
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                                                                        APPLE’S THIRD AMENDED WITNESS LIST
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             1     Dated: March 20, 2023             Respectfully submitted,
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             3
             4                                       /s/ Mark D. Selwyn
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                                                                 APPLE’S THIRD AMENDED WITNESS LIST
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